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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                8:14CR316
      vs.
                                                                 ORDER
ENRIQUE NAJAR and
BRETT BOOKER,
                     Defendants.

       This matter is before the court on the motion for an extension of time by
defendant Brett Booker (Booker) (Filing No. 32). Booker seeks an extension of sixty
days in which to file pretrial motions in accordance with the progression order. Booker’s
counsel represents that Booker will file an affidavit wherein he consents to the motion
and acknowledges he understands the additional time may be excludable time for
purposes of the Speedy Trial Act. Booker’s counsel represents that government’s
counsel has no objection to the motion. Upon consideration, the motion will be granted
and the pretrial motion deadline will be extended as to both defendants for a period of
sixty days.

        IT IS ORDERED:
        Defendant’s motion for an extension of time (Filing No. 32) is granted. The
defendants are given until on or before February 27, 2015, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between December 19, 2014, and February 27, 2015, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendants’ counsel require additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(7)(A) & (B).

       Dated this 19th day of December, 2014.

                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
